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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


KIMBERLY KATORA BROWN, et
al. ,

                Plaintiffs ,

v.                                           Civil Action No. 13-569 (CRC)


GOVERNMENT OF THE
DISTRICT OF COLUMBIA,

                 Defendant .

 JOINT SUMMARY OF DISPUTE REGARDING PROTECTIVE ORDER

       Counsel for Plaintiffs Kimberly Brown, et al., and Defendant the District of

Columbia submit the following summary of the dispute regarding a protective order

in this case.
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   I.      District of Columbia

        Discovery in this litigation will involve the exchange of sensitive and

confidential information, including personal information and non-public records

relating to arrests and police investigations. For privacy reasons and in the interest

of complying with both federal and local law, the District drafted a proposed order,

attached as Exhibit A, which provides that this information be designated as

confidential and that it will be limited to use only in this case. The Parties have

been unable to reach an agreement on the terms of a protective order with respect

to three areas. Plaintiffs’ proposed order should be rejected because it creates

multiple loopholes for confidential information to be used outside of this litigation.

        A. Publicly Available Information

        Plaintiffs propose that “any information that is publicly available in publicly

available records [such as CourtView] … is not considered as CONFIDENTIAL

under this Protective Order regardless of whether a party has designated it as

CONFIDENTIAL.” Exhibit B. This exception would allow a party to unilaterally

decide that a document is no longer subject to the protective order without taking

the necessary steps to challenge the designation under the terms of the order. This

would completely undermine the purpose of a protective order which is to prohibit

the use of confidential information beyond the case in which it is produced. This

also applies to the production of unnamed class members’ contact information.

Courts regularly hold that such information “is to be produced to Plaintiff’s counsel

only and used only in this litigation.” See, e.g., Salgado v. O’Lakes, 2014 WL



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7272784, at *11 (E.D. Cal. Dec. 18, 2014); Nguyen v. Baxter Healthcare Corp., 275

F.R.D. 503, 507 (C.D. Cal. 2011) (noting that such measures are warranted to

protect the “privacy interests of potential class members”); Dennington v. State

Farm Fire & Cas. Co., 2015 WL 1522238, at *2 (W.D. Ark. Apr. 2, 2015).

        If certain information that the Metropolitan Police Department (MPD)

intends to produce is publically available online or through the D.C. Superior

Court’s docket, including             birth dates and           social security        numbers,1      the

confidentiality of that information is unchanged because it originates from MPD’s

Evidence Control Branch. The District should not bear the burden of determining

whether information contained in MPD’s database is publically available, especially

given that MPD intends to produce over 26,000 documents from its property and

evidence management database.2 The District’s proposed confidentiality order does

not restrict Plaintiffs’ ability to use information obtained from public sources.

        B. Related Cases

        Initially, Plaintiffs proposed that confidential information shall not be

disclosed for any purpose other than “discovery and trial in this action and any

additional action that meets the definition of “related” to this case as that term is

defined in LCvR 40.5.”3 Exhibit B. This proposal undermines the purpose of a

confidentiality order which is to keep confidential information limited to this

lawsuit. See, e.g., Jean v. The Stanley Works, 2007 WL 1039126, at *2 (N.D. Ohio

        1  D.C. Superior Court Criminal Procedure Rule 49.1 provides, subject to certain narrow
exceptions, that this personal information should be redacted in filings made with the Court.
        2 The District is reviewing these documents for responsiveness and privilege.
        3 Inexplicably, Plaintiffs’ edit eliminates the Parties’ ability to use confidential information in

any appeal of this action, to which the District objects.

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Apr. 2, 2007) (“[T]his Court agrees with defendant’s stance that plaintiffs should not

have carte blanche to utilize all discovery from this action in” another proceeding);

On Command Video Corp. v. LodgeNet Entertainment Corp., 976 F. Supp. 917, 922

(N.D. Cal. 1997) (finding that plaintiff’s use of protected information to file a

separate state court lawsuit was “tantamount to no compliance at all”). The District

has not been served in either of the two cases that Plaintiffs are now classifying as

“related” cases.4 As such, the time to respond to the complaint in those cases has not

lapsed, and it is uncertain whether those cases will even progress to discovery. And

even if those cases are “related” and the Parties engage in discovery, there is no

reason for the confidential documents in this case to be used in other cases.

       C. Experts’ Summaries

       Plaintiffs’    proposal     that     expert      summaries      be    deemed       “NOT

CONFIDENTIAL” for use in “related” cases also undermines the purpose of a

confidentiality order. It is not difficult to imagine a situation in which the

underlying data upon which expert summaries are based will be necessary if used

in “related” cases. If disclosure is allowed, the bulk of the confidential information

will no longer be restricted to this litigation. Instead, the parties in any separate

litigation should exchange discovery in the context of that litigation. The District’s

proposed order provides an appropriate method for the handling of confidential

information      by     experts     in    this       case.   Exhibit     A     (Section     III).



       4 The cases are: Jenkins v. District of Columbia (1:16cv118-CRC) and Melton v. District of
Columbia (1:16cv237-CRC). Plaintiffs’ counsel indicated on February 17, 2016 that he may file an
additional “related” lawsuit.

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II.    Plaintiffs

1.     Publically available Information.


       The District’s protective order sweeps too broadly because it covers information

which is not entitled to protection under Fed. R. Civ. P. 26(c) because it is publically

available in multiple public sources. For example, the District’s protective order covers

“personal information, including, but not limited to, an individual’s home address,

telephone number, date of birth, social security number, and/or any other personal

information unique to such individual.” ¶ I.A.


       Each of these data items (with the exception of social security numbers) is publicly

available in sources such as CourtView (Ps. Ex. C), the daily lock-up list available online

and every day at Superior Court that arraignment court is in session (Ps. Ex. D), the

District’s own filings on PACER and CourtView, AUSA filings on CourtView in cases

prosecuted on behalf of the District, the newspaper (notice of forfeiture required by

statute), and information the District has previously produced in FOIA requests (Ps. Ex.

E). The District’s own filings in support of its motion to dismiss/ summary judgment

motion in this case [65] include: Ms. Jenkins’ PD 81 and her property release from the

AUSA; Ms. Taylor’s PD 81, her property release, and the search warrant for her Tahoe.


       Also, the District produced discovery in Hardy v. District of Columbia and Simms v

District of Columbia about EvidenceOnQ (e.g., screen shots, how data is entered) that was




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not subject to a protective order and some of which was in fact publically filed by the

District on Pacer.


       First, Fed. R. Civ. P. 26(c) applies only to documents and information that meet the

“good cause test.” Foltz v. State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1130-31 (9th

Cir. 2003). Second, over designating, that is, designating all documents produced by a party

or practically all documents produced by a party as Confidential and subject to the

protective order, is a violation of Rule 26(c). Healthtrio, LLC v. Aetna, Inc., 2014 U.S.

Dist. LEXIS 169321 (D. Colo. Dec. 5, 2014).


2.     Use of Confidential information in Related Cases.


       Plaintiffs have filed two related cases (Jenkins v. District of Columbia, 16-118 (CRC)

and Melton v. District of Columbia, 16-237 (CRC)) and may file a third covering notice

and hearings for seizures of currency for civil forfeiture that the District did not transfer to

the DOJ. Plaintiffs believe any discovery produced in this case should also be available to

plaintiffs for use in the three related cases.


       Discovery in this and the Related Cases involves not only typical electronic and hard

copy material, but also a large and complex database (EvidenceOnQ). We have been

working with the Defendants to obtain this discovery, and are heartened by the progress in

our negotiations to date, but as yet have received no discovery of any kind in the three

months since our Requests for Production were served. We anticipate it will take several

more months before we are provided with the information we have requested. It

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is inefficient and a waste of resources to have to go through this discovery process again

when the information provided in the current case will be readily available for the related

cases. Allowing discovery in the current case to be used in the related cases will help lead

to the “just, speedy and inexpensive determination” of this and the related cases. Fed. R.

Civ. P. 1.


       There is no rule that says that plaintiffs cannot use discovery produced in one case

in another case. The protective order is to protect "[p]rivacy of proprietary information, not

immunity from suit." Go-Video v. Motion Picture Ass'n of Am. (In re Dual-Deck Video

Cassette Recorder Antitrust Litig.), 10 F.3d 693, 696 (9th Cir. 1993). Guarding a party

from adverse consequences in other civil lawsuits is not a proper basis for sealing judicial

records. See Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1137 (9th Cir. 2003)

("[D]isclosure might harm State Farm by exposing it to additional liability and litigation . . . ,

but a litigant is not entitled to the court's protection from this type of harm."); Jenkins v.

Wash. Metro. Area Transit Auth. (In re Fort Totten Metrorail Cases Arising out of the

Events of June 22), 960 F. Supp. 2d 2, 10 (D.D.C. 2013).


3.     Summaries of data in any pleading filed in open court


       Plaintiffs should be free to use summaries of data in any pleading filed in open court

in this case or a Related Case that does not reveal Confidential information.




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Respectfully submitted,

/s/ William Claiborne                    KARL A. RACINE
WILLIAM CLAIBORNE                        Attorney General for the District of
D.C. Bar No. 446579                      Columbia
2020 Pennsylvania Ave., NW
Suite 395                                ELIZABETH SARAH GERE
Washington, D.C. 20006                   Deputy Attorney General
Telephone 202-824-0700                   Public Interest Division

/s/ Lynn E. Cunningham                   /s/ Toni Michelle Jackson
LYNN E. CUNNINGHAM                       TONI MICHELLE JACKSON
D.C. Bar No. 221598                      D.C. Bar No. 453765
P.O. Box 1547                            Chief, Equity Section
Dubois, WY 82513                         Public Interest Division
Telephone 307-431-4158
                                         /s/ Fernando Amarillas
/s/ Bennett B. Borden                    FERNANDO AMARILLAS
BENNETT B. BORDEN                        D.C. Bar No. 974858
D.C. Bar No. 501228                      Assistant Attorney General
Drinker Biddle & Reath LLP               441 Fourth Street, N.W.
1500 K Street, NW, Suite 1100            Sixth Floor South
Washington, DC 20005                     Washington, D.C. 20001
Telephone: (202) 230-5194                Telephone: (202) 442-9887
Facsimile: (202) 842-8465                Facsimile: (202) 730-0646
Email: Bennett.Borden@dbr.com            Email: fernando.amarillas@dc.gov

Counsel for Plaintiffs                   /s/ Caliandra Burstein
                                         CALIANDRA BURSTEIN
                                         D.C. Bar No. 1014852
                                         Assistant Attorney General
                                         441 Fourth Street, N.W.
                                         Sixth Floor South
                                         Washington, D.C. 20001
                                         Telephone: (202) 727-6247
                                         Facsimile: (202) 741-0579
                                         Email: caliandra.burstein@dc.gov

                                         /s/ Christine L. Gephardt
                                         CHRISTINE L. GEPHARDT
                                         D.C. Bar No. 994547
                                         Assistant Attorney General
                                         441 Fourth Street, N.W.
                                         Sixth Floor South
                                         Washington, DC 20001
                                     7
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Dated: February 19, 2016.               Telephone: (202) 727-2429
                                        Facsimile: (202) 741-5906
                                        Email: christine.gephardt@dc.gov

                                        Counsel for Defendant the District of
                                        Columbia




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